        Case 4:09-cr-00043-SPF Document 54-2 Filed in USDC ND/OK on 05/15/09 Page 1 of 2

       1040 U.S. Individual Income Tax Return 2002
                        Department of the Treasury—Internal Revenue Service
Form
                                                                                                                           (99)     IRS Use Only—Do not write or staple in this space.
                            For the year Jan. 1–Dec. 31, 2002, or other tax year beginning                  , 2002, ending                    , 20               OMB No. 1545-0074
Label                       Your first name and initial                              Last name                                                               Your social security number
(See                L
                    A
instructions        B       If a joint return, spouse’s first name and initial       Last name                                                               Spouse’s social security number
on page 21.)        E
                    L
Use the IRS
label.              H
                            Home address (number and street). If you have a P.O. box, see page 21.                                   Apt. no.
                                                                                                                                                             䊱 Important! 䊱
Otherwise,          E
please print        R                                                                                                                                                 You must enter
                    E       City, town or post office, state, and ZIP code. If you have a foreign address, see page 21.
or type.                                                                                                                                                              your SSN(s) above.
Presidential
                        䊳
                                                                                                                                                                  You                 Spouse
Election Campaign                Note. Checking “Yes” will not change your tax or reduce your refund.
(See page 21.)                   Do you, or your spouse if filing a joint return, want $3 to go to this fund?                                         䊳           Yes         No        Yes     No
                         1         Single                                                                        4         Head of household (with qualifying person). (See page 21.) If
Filing Status            2         Married filing jointly (even if only one had income)                                    the qualifying person is a child but not your dependent, enter
                         3         Married filing separately. Enter spouse’s SSN above                                     this child’s name here. 䊳
Check only
one box.                           and full name here. 䊳                                                         5         Qualifying widow(er) with dependent child (year
                                                                                                                           spouse died 䊳          ). (See page 21.)


                                                                                                                                                                      其
                         6a           Yourself. If your parent (or someone else) can claim you as a dependent on his or her tax                                           No. of boxes
                                                                                                                                                                          checked on
Exemptions                                      return, do not check box 6a                                                                                               6a and 6b
                             b    Spouse                                                                                                                                  No. of children
                             c Dependents:                                                                                 (3) Dependent’s      (4) if qualifying         on 6c who:
                                                                                                (2) Dependent’s
                                                                                             social security number
                                                                                                                            relationship to     child for child tax       ● lived with you
                                 (1) First name             Last name                                                             you          credit (see page 22)       ● did not live with
                                                                                                                                                                          you due to divorce
If more than five                                                                                                                                                         or separation
dependents,                                                                                                                                                               (see page 22)
see page 22.                                                                                                                                                              Dependents on 6c
                                                                                                                                                                          not entered above
                                                                                                                                                                          Add numbers
                                                                                                                                                                          on lines
                             d Total number of exemptions claimed                                                                                                         above 䊳

                         7       Wages, salaries, tips, etc. Attach Form(s) W-2                                                                                  7
Income                   8a Taxable interest. Attach Schedule B if required                                                                                     8a
Attach                       b Tax-exempt interest. Do not include on line 8a                                         8b
Forms W-2 and            9       Ordinary dividends. Attach Schedule B if required                                                                               9
W-2G here.                                                                                                                                                      10
                        10       Taxable refunds, credits, or offsets of state and local income taxes (see page 24)
Also attach
Form(s) 1099-R          11       Alimony received                                                                                                               11
if tax was              12       Business income or (loss). Attach Schedule C or C-EZ                                                                           12
withheld.
                        13       Capital gain or (loss). Attach Schedule D if required. If not required, check here 䊳                                           13
                        14       Other gains or (losses). Attach Form 4797                                                                                      14
If you did not          15a      IRA distributions           15a                                               b Taxable amount (see page 25)                  15b
get a W-2,              16a      Pensions and annuities             16a                                        b Taxable amount (see page 25)                  16b
see page 23.
                        17       Rental real estate, royalties, partnerships, S corporations, trusts, etc. Attach Schedule E                                    17
Enclose, but do         18       Farm income or (loss). Attach Schedule F                                                                                       18
not attach, any         19       Unemployment compensation                                                                                                      19
payment. Also,                                            20a                                                                                                  20b
please use              20a      Social security benefits                                                      b Taxable amount (see page 27)
Form 1040-V.            21       Other income. List type and amount (see page 29)                                                                               21
                        22       Add the amounts in the far right column for lines 7 through 21. This is your total income 䊳                                    22
                        23       Educator expenses (see page 29)                                                      23
Adjusted                24       IRA deduction (see page 29)                                                          24
Gross                   25       Student loan interest deduction (see page 31)                                        25
Income                  26       Tuition and fees deduction (see page 32)                                             26
                        27       Archer MSA deduction. Attach Form 8853                                               27
                        28       Moving expenses. Attach Form 3903                                                    28
                        29       One-half of self-employment tax. Attach Schedule SE                                  29
                        30       Self-employed health insurance deduction (see page 33)                               30
                        31       Self-employed SEP, SIMPLE, and qualified plans                                       31
                        32       Penalty on early withdrawal of savings                                               32
                        33a      Alimony paid b Recipient’s SSN 䊳                             33a
                        34       Add lines 23 through 33a                                                                                                       34
                        35       Subtract line 34 from line 22. This is your adjusted gross income                                                     䊳        35
For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see page 76.                                                       Cat. No. 11320B                            Form 1040 (2002)
       Case 4:09-cr-00043-SPF Document 54-2 Filed in USDC ND/OK on 05/15/09 Page 2 of 2
Form 1040 (2002)                                                                                                                                                         Page 2

                   36      Amount from line 35 (adjusted gross income)                                                                        36
Tax and
                   37a     Check if:  You were 65 or older,     Blind;   Spouse was 65 or older,                             Blind.
Credits                                                                                                                     䊳 37a
                           Add the number of boxes checked above and enter the total here
Standard
Deduction               b If you are married filing separately and your spouse itemizes deductions, or
for—                      you were a dual-status alien, see page 34 and check here                                          䊳   37b
● People who                                                                                                                                  38
checked any        38      Itemized deductions (from Schedule A) or your standard deduction (see left margin)
box on line        39      Subtract line 38 from line 36                                                                                      39
37a or 37b or
who can be         40      If line 36 is $103,000 or less, multiply $3,000 by the total number of exemptions claimed on
claimed as a               line 6d. If line 36 is over $103,000, see the worksheet on page 35                                                 40
dependent,
see page 34.       41      Taxable income. Subtract line 40 from line 39. If line 40 is more than line 39, enter -0-                          41
● All others:      42      Tax (see page 36). Check if any tax is from: a        Form(s) 8814           b        Form 4972                    42
Single,            43      Alternative minimum tax (see page 37). Attach Form 6251                                                            43
$4,700
                   44      Add lines 42 and 43                                                                                         䊳      44
Head of
household,         45      Foreign tax credit. Attach Form 1116 if required                                 45
$6,900                                                                                                      46
                   46      Credit for child and dependent care expenses. Attach Form 2441
Married filing                                                                                              47
jointly or         47      Credit for the elderly or the disabled. Attach Schedule R
Qualifying         48      Education credits. Attach Form 8863                                              48
widow(er),                                                                                                  49
$7,850             49      Retirement savings contributions credit. Attach Form 8880
Married            50      Child tax credit (see page 39)                                                   50
filing             51      Adoption credit. Attach Form 8839                                                51
separately,
$3,925             52      Credits from: a      Form 8396             b       Form 8859                     52
                   53      Other credits. Check applicable box(es):      a     Form 3800
                           b      Form 8801     c      Specify                                  53
                   54      Add lines 45 through 53. These are your total credits                                                              54
                   55      Subtract line 54 from line 44. If line 54 is more than line 44, enter -0-                                   䊳      55
                   56      Self-employment tax. Attach Schedule SE                                                                            56
Other                                                                                                                                         57
                   57      Social security and Medicare tax on tip income not reported to employer. Attach Form 4137
Taxes                                                                                                                                         58
                   58      Tax on qualified plans, including IRAs, and other tax-favored accounts. Attach Form 5329 if required
                   59      Advance earned income credit payments from Form(s) W-2                                                             59
                   60      Household employment taxes. Attach Schedule H                                                                      60
                   61      Add lines 55 through 60. This is your total tax                                                             䊳      61
Payments           62      Federal income tax withheld from Forms W-2 and 1099                              62
                   63      2002 estimated tax payments and amount applied from 2001 return                  63
If you have a 64           Earned income credit (EIC)                                                       64
qualifying                                                                                                  65
child, attach
              65           Excess social security and tier 1 RRTA tax withheld (see page 56)
Schedule EIC. 66           Additional child tax credit. Attach Form 8812                                    66
                   67      Amount paid with request for extension to file (see page 56)                     67
                   68      Other payments from: a Form 2439 b  Form 4136 c    Form 8885                     68
                   69      Add lines 62 through 68. These are your total payments                                                      䊳      69
                   70      If line 69 is more than line 61, subtract line 61 from line 69. This is the amount you overpaid                    70
Refund
                   71a     Amount of line 70 you want refunded to you                                                   䊳                     71a
Direct deposit?
See page 56 䊳       b      Routing number                                                      䊳 c Type:         Checking        Savings
and fill in 71b,
71c, and 71d. 䊳     d      Account number
                   72      Amount of line 70 you want applied to your 2003 estimated tax 䊳 72
Amount             73      Amount you owe. Subtract line 69 from line 61. For details on how to pay, see page 57 䊳                            73
You Owe            74      Estimated tax penalty (see page 57)                             74
                    Do you want to allow another person to discuss this return with the IRS (see page 58)?                            Yes. Complete the following.            No
Third Party
                    Designee’s                                                Phone                                         Personal identification
Designee            name     䊳                                                no.   䊳      (        )                       number (PIN)            䊳
                    Under penalties of perjury, I declare that I have examined this return and accompanying schedules and statements, and to the best of my knowledge and
Sign                belief, they are true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Here

                䊳
                    Your signature                                               Date             Your occupation                              Daytime phone number
Joint return?
See page 21.                                                                                                                                   (        )
Keep a copy         Spouse’s signature. If a joint return, both must sign.       Date             Spouse’s occupation
for your
records.

Paid                Preparer’s
                    signature    䊳                                                               Date
                                                                                                                       Check if
                                                                                                                       self-employed
                                                                                                                                               Preparer’s SSN or PTIN

Preparer’s
Use Only
                    Firm’s name (or
                    yours if self-employed),
                    address, and ZIP code
                                               䊳                                                                                EIN
                                                                                                                                Phone no.      (        )
                                                                                                                                                            Form 1040 (2002)
